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                         IN THE UNITED STA'l ES DISTRICT COURT
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                        FOR THE EASTERN DISTRICT OF VIRGINIA I                              u s Ij/sjiRicr COURT
                                    ALEXANDRIA DIVISION
                                                                                        AlEXANORlfl^


  AMAZON.COM.INC. and AMAZON
  DATA SERVICES. INC.,

                 Plaintiffs.

         V,                                                     CASE NO.         00

  WDC MOLDINGS LLC dba NORTIISTAR
  COMMERCIAL PARTNERS; BRIAN
  WATSON: STERLING NCP FF. LLC:                       FILED UNDER SEAL PURSUANT TO
  MANASSAS NCP FF, LLC; NSIPI                         LOCAL RULE 5
  ADMINISTRATIVE MANAGER:NOVA
  WPC LLC; WHITE PEAKS CAPLCAL LLC;
  VILLANOVA TRUST:JOHN DOES 1-20.

                 Defendants.




                DECLARATION OF LORA E. MACDONALI)IN SUPPORT OF
  PLAIN riFFS' MOTION FOR                        TEMPORARY RESTRAINING ORDER AND
                ORDER TO SHOW CAUSE RE PRF.LIMINARY INJUNCTION


           I. Lora E. MacDonald, hereby declare, under penalty of perjury, as follows;

           1.     I am over the age of 18 years. 1 have personal knowledge of the facts set

   forth below, and if called upon to do so. I could and would competently testily thereto.

          2.      I am an attorney licensed to practice law in the Slate of Maryland and in the

   District of Columbia. 1 am an attorney at the law llrni of Gibson, Dunn & Crutcher,

   LLP ("Gibson Dunn"), and counsel for Amazon.com. Inc. and Amazon Data Services. Inc.

  (collectively "Plaintiffs'" or "Amazon"). I make this declaration in support of Plaintiffs'

   Motion For £x Parle Temporary Restraining Order And Order To Show Cause

   Re Preliminary Injunction. If called as a witness. I could and would testily to the same

   as stated herein.


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